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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  MARIA LUCADOU,                                 §
                                                 §
       Plaintiff                                 §
                                                 §
  v.                                             §
                                                 §       CIVIL ACTION NO. 23-3347
  FOUR SEASONS DEVELOPMENT CO.,                  §
  INC.; FOUR SEASONS BUSINESS PARK               §       JURY DEMANDED
  CO., INC.; FOUR SEASONS BUSINESS               §
  PARK I, LLC; and FOUR SEASONS                  §
  BUSINESS PARK II, LTD.                         §
                                                 §
       Defendants.


                     JOINT MOTION TO DISMISS WITH PREJUDICE

        Plaintiff Maria Lucadou and Defendants Four Seasons Development Co., Inc.; Four

Seasons Business Park Co., Inc.; Four Seasons Business Park I, LLC; and Four Seasons Business

Park II, Ltd. (collectively referred to as “Defendants”), file this Joint Motion to dismiss with

Prejudice the above-styled cause (the “Lawsuit”).

                                                I.

       FULL AND FINAL RESOLUTION OF CLAIMS BETWEEN PLAINTIFF AND

                                        DEFENDANTS

        Plaintiff and all Defendants have amicably settled all claims pending in this Lawsuit and

now desire to dismiss such claims and causes of action, with prejudice to re-filing of same.
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                                               II.

                                        COSTS & FEES

       Plaintiff and Defendants agree that all costs incurred by each party to this Joint Motion to

Dismiss with Prejudice in this proceeding are to be paid by the party incurring same except as

otherwise allocated in their settlement agreement.

                                           PRAYER

       Plaintiff and Defendants pray that the Court consider this Joint Motion to Dismiss with

Prejudice, and that, upon due review, the Court GRANT this Joint Motion to Dismiss with

Prejudice.

                                                     Respectfully Submitted,

                                                     /s/ Duchoang Pham
                                                     Duchoang Pham
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                                                     Counsel for Plaintiff


                                                     /s/ Duchoang Pham (w/p/o Susan E. Cates)
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                                                     Counsel for Defendants
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on February 6, 2025, I electronically filed the attached document.
Notice of this filing will be sent to counsel of record for all parties by operation of the Court’s
Electronic Filing System.

                                                               /s/ Duchoang Pham
                                                               Duchoang Pham
